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Appellate Division of the Supreme Court

of the State of New York
Serrond Judicial Department

XJ, Aprilanne Agostino, Clerk of the Appellate Diviston of the
Supreme Court of the State of New York, Second Judicial Aepartment,
Do hereby certify that James FH. Lerner was daly
licensed and adinttted to practice as an Attorney and Counselor-at-La
in all the courts of the State, arrording to the laws of the State and the
rourt rules and orders, onthe Sth day of December 19590,

has duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Roll of Attorneys and Counselors-at-Law on file in
my office, has duly registered with the administrative office of the
rourts, and according to the records of this court ts tm good standing as

an Attorney and Counselor-at-Lau.

In Witness Whereof, J haue hereunto set
my hand and affixed the seal of said
Appellate Biviston on Noventher 01, 2013.

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Ad

Clerk of the Court

